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FD•302 (Rev. S-8-10)                                                                                                                    l,~ .;.,..., ,,., .... . ' """' ,.....- . 1 r,,    .;i
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                                                   FEDERAL BUREAU'OF INVESTIGATION .


                                                                                                                Date of entJy       05/22/2014




                            was interviewed at the Office of the UNITED STATES ATTORNEY
           for the Northern District of Illinois, 219 South Dearborn Street, Chicago,
           Illinois. Also present for the interview was Assistant United States
           Attorney (AUSA) JENNIE LEVIN, and in their capacity as Attorneys fo~
           COLLETTI, . GENE MURPHY and RANDALL BOREK, MURPHY & HOURIHANE LLC, 161 North
           Clark Street, Suite 2550, Chicago, Illinois, telephone number:
           (312)202-3200. At the onset of the interview, AUSA LEVIN provided MORPHY
           with a copy of a proffer lett~r related to the interview of COLLETTI.
          "MURPHY was then given the opportunity to discuss the terms of the proffer
           letter .agreement with COLLETTI. After signing the letter, COLLETTI
          .provided the following information:



                    COLLETTI was first h i red at MILLER BREWING COMPANY (hereinafter
          MILLER) in Milwaukee, Wisconsin i n ·January 1982, as an intern . COLLETTI
          worked as an intern . for approximately five months before . being hired for a
          full-time position in May 1982. The full-time position for which COLLETTI
          was hired was a safety engineer . COLLETTI described the job duties of a
          safety engineer to include: dea l ing with Occupational Safety and Health
          Administration (OSHA) codes; installing conveyors; and addressing worker's
          compensation and time/loss issues . COLLETTI worked in this position for
          approximately eighteen months to two years.



                    COLLETTI then enrolled in a training program to become an Ar ea
          Sales Manager for MILLER . . COLLETTI explained that MILLER offered an
          accelerated program in which employees from the brewery were given the
          opportunity to train in the field for sales positions. COLLETTI spent six
          to seven months in Chicago, Iilinois participating in the accelerated
          training program. · Through the training program, COLLETTI was to learn the
          operations of the distributors. At that time~ there were nine Chicago area
          distributors with whom COLLETTI was working. COLLETTI advised that the




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  by    SA Laura B. Miller, SA Heather Czubak
                                . .       .                                                               GOVERNMENT                                        -
•. This document contains neither recommendations nor oonclusions of the FBI. It is the property of the     EXHIBIT             and its contents are not
   to be distributed outside your agency.
                                                                                                           Exhibit 2
                                                                                                                                 FB1302 001-000001
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           area sales manager position for which he was training involved ·
           merchandising and working with distributors. COLLETTI ad:rised that MI_!,LER
           wanted the area sales managers to ·assist the local distributo·rs execute the
           programs that the brewery was introducing in order to increase sales of
           MILLER. COLLETTI described the effort as getting MILLER's brand name out
           in the marketplace.



                      Upon completion of the area manager training program in Chicago,
           COLLETTI was promoted to an area· manager position in Springfield,
           Illinois. COLLETTI describea his primary job duty was to . interface with
           distributors in order to sell th~ MILLER brand programs. COLLETTI atjvised
           that it was his responsibility to monitor the distributor's execution of
           MILLER's programs. As. an area manager, COLLETTI was also responsible for
           looking for ways to increase MILLER sales and market share. COLLETTI was
           in the area manager position in Springfield for approximately seven
           months. · COLLETTI described Springfield as a "Level 7 Market".



                      COL.LETTI was then moved to Des Moines, . Iowa, which COLLETTI
            described a~ a "Level 8 Market". In Des Moines, . COLLETTI was responsible
          . for a large.r market. COLLETTI' s territory covered half of Iowa, primc1.rily
            in the western par_t of the state. COLLETTI' .s job duties as area manager in
            Des Moines were similar to those he had as area manager in Sprin·g field.
            The primary difference between the two positions being that Des Moines was
           a larger market and so COLLETTI dealt with a greater number of.
           distributors. COLLETTI estimated that he was working with seven
           distributors in Des· Moines.



                     COLLETTI was in the area manager position in Des Moines for
         . approximately fifteen months and was then promoted to an area manager
           position in Chicago, which COLLETTI described as a "Level 9 Market".
           COLLETTI advised that the area manager position in Chicago entailed the
           same job duties as the area manager positions in Springfield-and Des
           Moines, just on a larger scale. : COLLETTI was- respo'ns.ible for .working with
           five MILLER distributors in the northern· and ·western parts of the City of
           Chicago. COLLETTI was in this position for approximately two years, o~
           possibly less, until approximately 1987 or 1988.



                           COLLETTI was then ~ro~oted. to the position of retail sales


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            manager · in Chicago. In this position, COLLETTI' s_ area of responsibility
            wa~ chain sa_les. COLLETTI w·a s responsible for working with both . on-premise
            and off-premise chain establishments in order to increase the sales of
            MILLER products. COLLETTI explained that off-premise chains were places
            like a grocery s·tore, such as JEWEL, where the beer was not consumed on the
            prem_ises. COLLETTI described on-premise chains as bars and restaurants
            where the beer was consµmed o~ the premises. COLLETTI's role entailed
            expanding distri):mtion within the on and off-premise chains. COLLETTI. vias
            in the position of retail sales manager in Chicago for approximately two
            years.



                     In 1990, COLLETTI moved to California to be a divisional retail
           sales manager .for MILLER. In that position, COLLETTI ·was the divisional
           sales manager over twelve western states, with retail sales managers in
           each of those states that he supervised. COLLETTI advised that this was
           the first job he had with MILLER that included supervisory.responsibility.
           COLLETTI supervised between fourteen to sixteen people who held the
           position of retail sales managers. COLLETTI advised that the retail sales
           managers covered the twelve states that were within COLLETTI's area of
           responsibility. COLLETTI explained that the retail sales managers were not
           equally divided among the twelve states, but instead worked in the various
           areas based on population and market size. In the· position of divisional
           retail sales manager, COLLETTI worked with the retail sales managers. that
           he supervised to call on retail chains. COLLETTI and the retail sales
           managers were responsible for implementing programs put out by MILLER;
           obtaining ad space in weekly newspapers, and increasing sh~li space for
           MILLER products in the retail chains. COLLETTI was s~pervising the retail _
           sales managers, but also going on sales calls with them to the various
           retail chains·. COLLETTI explained that during this time, MILLER was
           changing the way it was selling ~ILLER products. COLLETTI described the
           sales approac~ as one . that was more sophisticated than merely relying on
           brand programs. While in the position of divisional retail sales manager,
           COLLETTI's supervisor was CHRIS MOORE, who had the title of Vice President
           of Chain Sales. MOORE worked for MILLER in Milwaukee. COLLETTI was in the
           position of divisional retail sales manager until approximately 1993.



                     COLLETTI moved back to Milwaukee in 1993 for a promotion to the
           position of Manager of On-Premise National Accounts. COLLETTI advised that
           at this time, one person was doing on-premise national accounts and one
           person was doing off-premise national accounts. In COLLETTI's new position
           of Manager of On-Premise National Accounts, approximately eight to eleven



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           employees reported to him. The employees who reported to COLLETTI were
           national chain sales m~nagers . . From the time that COLLETTI returned to
           Milwaukee in 1993, COLLETTI was reporting to KEVIN DOYLE, who was also
           based in Milwaukee . At· that time, DOYLE was the Director of National
           Accounts. COLLETTI explained that DOYLE was respqnsible for all national
           accounts, both. on-premise and ot'f-premise. COLLETTI' s former supervisor
           CHRIS MOORE had been promoted to Vice President of Sales.



                      Approximately fifteen months to two years later, COLLETTI's title
            was changed to Director of .o n-Premise National Accounts. At that time,
            DOYLE's position was changed to Vice President of Chain Sales, and CHRIS
            MOORE was promoted to Executive Vice President of Sales. COLLETTI, advised
            that the promotions of MOORE, DOYLE and himself were primarily a change in
            titles, however, there were some additional responsibilities with these new
            titles. COLLETTI explained that at the time of ~is promotion to Director
            of On-Premise National Accounts, the larger chain restaurants such . as
            APPLEBEE'S were really emerging in the marketplace, and smaller,
            independent restaurants were going away. As a result, MILLER was working
            on "keeping up" with sales and promotions in. the chain restaurants .
          . COLLETTI explained that MILLER was adding people and support dollars for
            the ef~ort~ directed at chains, both for on-premise and off-premise
            chain$. COLLETTI advised that his job duties while      he
                                                                     was Manager of
            On-Premise National Accounts, strictly involved . working with on-premise
            national accounts to increase MILLER marketing and sales. COLLETTI
            explained that . if a MILLER program had been sold into a chain customer
            account, COLLETTI was responsible for working with the distributors to m~ke
            sure that the prqgram was executed at the local level. COLLETTI gave the
            example of a Monday Night Football promotion being rolled out by MILLER. · .
            COLLETTI would go into APPLEBEE's Headquarters in Kansas City and explain
            the program to APPLEBEE'S headquarters based employees. COL~ETTI
            instructed APPLEBEE's employees on how to execute the program and exp1ained
            the support APPLEBEE's would receive from both MILLER and the local·
            distributors.



                      COLLETTI' s job· duties changed at the time his title charig_e d fo
            Director of On-Premise National Accounts . in that there was a change in the
            on-premise channel at MILLER and the classes of trade that were listed
            underneath the on-premise channel. COLLETTI explained that under the
          · on-premise channel were the following classes of trade: casinos;
            concessions; restaurants; cruise lines; bars and taverns; duty f_ree;
            nightclubs; and hotels. As Director of On-Premise National Accounts,



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           COLLETTI was in charge of the channel employees -listed under the on-premise
           channel, and those employees were in charge of the . aforementioned classes
           of trades.              In
                            addition to the change in his job d~ties ba~ed on the change
           in the . class of trades that reported to COLLETTI, COLLETTI explained that
           he was also challenged with coming up with new strategies and programs to
           double MILLER's efforts in on-premise marketing and promotions. COLLETTI ·
           described this . effort as "going back to grassroots" of MILLER. COLLETTI's
           goal was to get customers to sample MILLER brand products in on-premise
           locations. COLLETTI explµined that brand loyalty in the beer indu~try is
           developed in on-premise locations, which translates to off-premise .
           purchases. COLLETTI explained that at this time, MILLER was losing its
           share of the market in on- premise consumption. COLLETTI explained that
           MILLER brands were becoming irrelevant to younger crowds and that
           distributors . were moving away from on-premise distribution. COLLETTI
           explained that a distributor makes less in profit from on-premise
           distribution because there is much lower quantity sold to on-premise
           distribution locatioris versus off-premise distribution locations.
                          .   -~             .~-      • •    •.   ~   •• 1 • •••••   , ..   ,.. •• • • •, ,,,.,,,.,, ...... '   ' "o.;..,_•." ,j     J,.~,.




                     COLLETTI estimated that he became the Director of On-Premise
           National Accounts in approxima.tely 1995 . or 1996. At this time, COLLETTI
           estimated that approximately twenty people reported to him. Of . these, two
           or three were direct reports to COLLETTI, and the rest were people
           reporting up through COLLETTI's direct reports. COLLETTI remained in the
           position of Director of On-Premise .National Accounts until 2000 or 2001.



                        In 'approximately 2001, COLLETTI was promoted to the position of
           Senior Director of On-Premise National Accounts. At that time, KEVIN DOYLE
           was moyed~·to the position of·-Regio_nal Vice President of the East. DOYLE
           was switching positions with DOUG BROADMAN, who was previously Regional
           Vice President of the East. BROADMAN took on the title and position of
           Vice President of Chain Sales from DOYLE. COLLETTI advised that in the
           Senior Director position,. there was · more emph!=lsis on the channel. COLLETTI
           explained that MILLER had reorganized the way it was going to market and
           was increasing support to the field employees. As Senior Director,
           COLLET'.l'I was selling to national client accounts and -was dealing with
           distribution to the national accounts. COLLETTI advised this time there
           were more .imperatives of looking at the total on-premise channel.



                     As way of background, COLLETTI advised that in approximately
           1996, COLLETTI came ~p with a program known as MRM, which stood for


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            Merchandising Representatives from MILLER. COLLETTI introduced this
            prograi:n _in_ 1996, cha:mpioned it i~ 1997, and MILLER officially introdu?ed it
            in 1998. Through the MRM program, MILLER hired people to augment
            distr~butors in the marketplace, COLLETTI advised.that distributors were
          - moving away from on-premise promotions _for the large breweries and moving
            towards distributing smaller micro-brewery beer that provided a bigger
            margin. COLLETTI advised that the MRM program was put in place and did
            some good, but there were changes in senior management positions in
            approximately 2001 or 2002 that resulted in the watering down of the MRM
            program. COLLETTI advised that the p~ogram was not totally eliminated, but
            was watered down because the new senior managers believed it cost too much
          · money.

                       COLLETTI explained that the significant changes in senior
           management he ·mentioned invorved people in senior management positions at
           MILLER being replaced with people from PHILIP MORRIS, which was MILLER'S
           parent company. Specifically, JACK McDONOUGH, the President of MILLER was
           let go., aJ,.ong with CtIRIS MOORE,. the Vice PJ;~.~;i..dent .of qales, and,i[ACK ·
           ROONEY, the Chief Marketing Otficer. JOHN BOLIEN . was named as the new
           President, JOHN MORTENSEN was made the new Senior Vice President. of Sales,
           and there was a new Vice President of Marketing ·whose name COLLETTI could
           not currently recall.



                     COLLETTI advised that MORTENS~N, the new Vice President of Sales,
           believed that the MRM program was costing MILLER too much money. COLLETTI
           believed that the MRM Program had been working, but new management wanted
           more control over the MRM program because it was an expensive undertaking.
           MORrENSEN took the position that the work could be done internally by
           MILLER. As a result, MILLER switched from the MRM program to an internal
           prog~am where the work was no i'onger outsour;;ed·. COLLETTI advised t 'h at
           MILLER kept parts of the MRM model in place, but the program was operated
           internally with more internal controls in place.



                      COLLETTI explained that with both the MRM program and the
           sub_sequent internal · effort, MILLER was tryirig to get the distributors to-
           adhere to the · contracts they had signed with MILLER. The contracts
           specified the marketing and promotions agreed to by ·t_he distributors. When
           the MRM program was brought internally, MILLER was trying to get the local
           area managers and the employees in field to work with the distributors to
           ensure that the distributors were doing what ~hey \i1ere supposed to be doing
           to promote and sell MILLER products. COLLETTI reiterated that the problem
         · MILLER was fa6ing was that the local distribut6rs were moving toward


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            distribution of smaller breweries where there was a higher margin of
            profit. COLLETTI advised that he was ~?rking with !he local field
            employees to give the~ a strategy to use in dealing with these issues with
            the local distributors.



                       COLLETTI described another program at MILLER called Service 2000,
           which was created by CHRIS MOORE. COLLETTI described Service 2000 as
           changing the way MILLER used merchandising dollars. COLLETTI explained
           that instead of MILLER giving promotional items to the. distributors as they
           traditionally had done, MILLER deci<;ied to let the distributors buy the
           promotional items instead. COLLE~TI described the promotional items as
           "P.O.S.'s" which included paper products, neon signs, and brand/marketing
           iteffi:S. COLLETTI explained that under the Service 2000 program, MILLER _was
           going to help the distributors pay for the P.O.S. items by lowering the
           price that the distributors paid MILLER for beer. COLLETTI advised that
           the .Service 2000 program ended up not working because often distributors
           would not buy the P.O.S. products that were intended to support the
           marketing and promotion of MILLER ·products. As a result of this change in
           the way MILLER used merchandising dollars, COLLETTI's on-premise channel
           could no longer direct any of the merchandising or promotional items to a
           specific on...:.premise account such as APP.LEBEE's. · As the distributor had to
           buy the merchandising items, the cost of the items was no longer included
           in the on-premise budget; Therefore, COLLETTI's channel was lacking the
           funds to provide these items to the on-premise chains.



                      After approximately two years in · the position of Vice President
           of Sales, .MORTENSEN went back to PHILIP MORRIS. At that time, DOUG
           BROADMAN was promoted to Executive Vice President of Sales, and REGENIA
           STEIN came in to replace BROADMAN as Vice President of Chain Sales. STEIN
           had previously worked at KRAFT.



                      COLLETTI advised these changes. occurred in approximately 2004.
            COLLETTI advis~d that DOYLE was COLLETTI's . supervisor until BROADMAN and
            DOYLE switched positions. BROADMAN then became COLLETTI's supervisor and
            continued to be .until BROADMAN took over for MORTENSEN when MORTENSEN went
           ·back to PHILIP MORRIS. STEIN was brought in from KRAFT to take BROADMAN's
            position and STEIN then became COLLETTI's supervisor :




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          ,             COLLETTI advised that STEIN remained his supervisor until
              approximately 2006, when she left to go back to KRAFT. .At:. that time, P_ETER
              PAPPAS was brought in from PEPSI to be the Vice President of Chain Sales.
              PAPPAS was COLLETTI's supervisor until the merg er between MILLER and COORS
              in 2008.



                        From approximately 2002 to 2008, COLLETTI was in the position of
              Senior Director of On-Premise National Accounts. In that position,
              COLLETTI had approximately twenty-one to twenty-two people that he
              supervised. COLLETTI's job duties included dealing with issues with the
              distributors and supporting the promotions put out by MILLER. COLLETTI was
              also responsible for meeting with representatives of the on-premise
              national accounts.



                    · ,In 2005, PHILIP MORRIS sold MILLER .to a company callecli .$0UTH
           AFRICAN BREWERIES (hereinafter SAB) . MILLER BREWING COMPANY' s name was
           then changed to SABMILLER. COLLETTI described this as a volatile time in
           the company . . COLLETTI advised that SABMILLER eventually put together a
           merger with COORS. In· 2_006, employees at SAB MIL:\=,ER knew something was
           happe~ing in the company. In 2007, MILLER and COORS announced their .
           intention to merge, . and in 2008, the merger . between MILLER ·a nd COORS
           occurred. When SAB purcha~ed MILLER in 2Q05, SAB brought in NORMAN ADIMIE
           from SAB to run SABMILLER in Milwaukee. ADIMIE brought in TOM LONG to be
           SAB MILLER's Chief Marketing Officer. Prior to the merger between MILLER
           and COORS, ADIMIE went back to SAB in South Africa and LONG was named
           President of SABMILLER,



                      As a result of the 2008 merger between MILLER and COORS,
           COLLETTI' S new employer became. ~nown as MILLERCOORS . COLLETTI advised that
           everyone was "fired" from the two individual companies (MILLER and COORS),
           although the employees were still working for the companies. COLLETTI
          ·advi$ed that the merger of MILLERCOORS was a merger not an acquisition.
           After the merger, SABMILLER -owned 58% of MILLERCOORS,. and COORS owned 42%
           of MILLERCOORS. COLLETTI advised this was supposed to be the equal merger
           of the two companies, not an acquisition. After the merger, the President
           of COORS was named CEO of MILLERCOORS, and TOM LONG, the President of SAB
           MILLER was named President of MILLERCOORS,




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                      After the merger, COLLETTI's position became Vice President of
           On-Premise
               -
                       National
                          .
                                 Accounts. COLLETTI advised that as a result of the
           merger, the Vice President of Sales position was _split between ED McBRIANE,
           who was named Vice President of Sales West, and TOM CARDELLA, who was named .
           Vice President of Sales East. KEVIN DOYLE wa~ named Chief Customer
           Officer.· COLLETTI explained that in this position, DOYLE had
           responsi,bili ty over all chain sales.



                     COLLETTI described the organ;i..z.ational structure of MILLERCOORS
           after the merger had TOM LONG as President, with ED McBRIANE, TOM CARDELLA,
           and KEVIN DOYLE reporting to LONG. COLLETTI reported directly to DOYLE.
           Twenty plus people reported to COLLETTI. Of the twenty employees who
           reported to COLLETTI, three or four were t·eam leads, and the remainder of
           the employees were national ac~ount managers who reported to the .team leads
           and COLLETTI. The four team leads who reported to COLLETTI were as
           follows: PHIL BLAVAT, who was responsible ·for concessions and casinos; RON
           SCHROEDER, who was responsible for travef and leisure (which included
           hotel, air, duty free and rail); PAUL EDWARDS, who was responsible for
           BUFFALO WILD WINGS (BWW), TOBY KEITH's, and BAR MANAG£MENT GROUP; and MARK
           LINDNER, who was responsible for restaurants. After LINDNER was promoted,
           the restaurant group was taken over by JOHN·BECK.



                       When COLLETTI's title changed to Vice President of On-Premise
           National Accounts, COLLETTI's responsibilities also increased. COLLETTI
           advised that his responsibilities increase~ inpart from "a biometrics
           standpoint." COLLETTI expla:\.ned that before the merger, MILLER sold
           approximately eighteen million cases of MILLER products per year. Prior to
           the _merger, COORS sold approximately five million .cases of COORS products
           per year . . The total of sales for MILLER and COORS products after the
           merger was approximately twenty-three million cases per year. When
           COLLETTI left MILLERCOORS, MILLERCOORS was selling approximately
           twenty-five or twenty-six million cases of MILLERCOORS products per year.
           As a result of the additional sales brought in by COORS after the merger,
           there was more product for the post merger employees to oversee.



                     COLLETTI advised that both MILLER and COORS individually thought
           that bringing the two smaller companies together made sense because
           approximately 50% to 60% of MILLER distributors were also distributing
           COORS. COLLETTI advised that MILLER was fighting to keep distributors and
           to secure retail space for MILLER products, as was .COORS. COLLETTI


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            explained that it made sense for the two companies to band together against
            ANHEUSER-BUSCH. COLLET!I advise~ that prior to the merger, ANHEUSER-BUSCH
            had approximately 50% of the market share, MILLER had ·approximately 20%,
            and COORS _had -approximately 10%. The remainder of the market was held by
            smaller breweries such as HEINEKEN, CORONA, PABST, and newly emerging
            smaller micro-breweries.



                     In order to explain the reason for some of his additional duties
           post merger, COLLETTI provided some background about the sales figures for
           the on-premise chain accounts. COLLETTI advised that nationwide there are
           approximately 250,000 ~n-premise licensed accounts where beer is sold. Of
           these 250,000 outlets availab~e to the beer industry, only 3% to 4% are
           chain outlets. Nonetheless, the sales from t.he chain outlets repres·e nted
           approximately 22% of MILLERCOORS on-premise business. COLLETTr -advised
           that after the· merger in 2008, MILLERCOORS on-premise sales represented
           approximately 20% of total sales and off-premise sales represented
           approximately 79% of total sales. COLLETTI" advised that the industry
           average is approximately 25% for on-premise sales and 75% for off-premise
           sales. Although MILLERCOORS on-premise percentages were down from the
           national averages, the national chain account share of on-premise bu.s iness
           represented approximately 22% to 23% of the volume in the on-premise
           channel.



                       Based on the importance. of the on-premise_ chain sales figures for
            ~ILLERCOORS, COLLETTI put together a business program where he brought in
            the regidnal chain employees from . the field to teach them about the chain
           ·retailers' businesses, COLLETTI believed that the people from the fiel~
            needed to understand _the product costs, labor costs, and business practices
            of the on-premise chain retail customers of MILLERCOORS . COLLETTI believed
            that if the field and regional MILLERCOORS employees understood the chain
            businesses better they could increase their sales in those chains.
            COLLETTI explained that if a MILLERCOORS regional sales manager understood
            APPLEBEE'S business, then the MILLERCOORS . regional sales manager could
            figure out how to increase MILLERCOORS sales in APPLEBEE'S. COLLETTI had
            tau~ht ·this strategy within his own- group prior to the merger. After the
            merger, COLLETTI took anyone who was in the on-premise channel, or had an
            on-premise title, and brought them in for week-long trainings twice a
            year. COLLETTI explained that he was teaching. the field people-about the
            chain customer's businesses in order to help the MILLERCOORS employees to
           ·sell the MILLERCOORS products to the chain customer.




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                      ~n addition to the training responsibilities that COLLETTI took
           on after the merger, COLLETTI was also given an increased marketing budget
           to handle . . Around the same timeJ COLLETTI was working with MILLERCOORS
           customers on how to !3-djust to recent pr_icing increases in the beer
           industry. COLLETTI explained that starting in 2006, there were significant
           increases in the price of a keg of beer. COLLETTI advised that the
           nationwide average for the cost of a keg of beer was $72.00. COLLETTI
           advised that currently the n_a tionwide average for the cost of a keg of beer
           is approximately $105.00. COLLETTI advised there was no real reason for
           the increase in the price. COLLETTI advised that the nationwide average
           went up when ANHEUSER-BUSCH was purchased by InBev. ABinBev raised the
           prices on kegs of beer, and when this happened, all of the other breweries
           followed suit. COLLETTI advised that the result of the increased prices
           was that MILLERCOORS and the other breweries sold less beer; however, the
           increase in price allowed the breweries to .make more money per keg of
           beer. Around · the same time, the cost of deposits on kegs of beer was
           raised from $10.00 _per keg to $20.00 per k~g. COLLETTI advised that for an
           on-premise· chain restaurant, such as APPLEBEE' s or OUTBACK STEAKHOUS°E, the
           increase in keg deposit cost the chain approximately $12 million or more.
           COLLETTI explained that he was responsible for working with the on-premise
           chains to deal with some of these pricing increases.



                      COLLETTI explained that one of his responsibilities was as trying
           to -get MILLERCOORS management and employees inside MILLERCOORS to
           understand what was going on with the on-premise retailers. · In order to
           help this process, COLLETTI held "back to basics" · training for ~mployees in
           the field. COLLETTI advised that this involved tra{ning and mentoring
           staff in the on-premise chain channel, as well as working with employees in
           the marke.ting department to tiy to increase . sales of MILLERCOORS _products.
           COLLETTI was fn the position of Vice President of On-Premise National
          ·Accounts from 2008 to the end of his employment with MILLERCOORS in 2013.
           COLLETTI reported to KEVIN DOYLE for the entire period he was in the
         . position of Vice President of on-Premise National Accounts .



         . FRAUDULENT INVOICING




                    COLLETTI believ~s that the first time he partici~ated in
          submitting fraudulent invoices to MILLER, or subsequently to MILLERCOORS,
          occurred in appro?(imately 200_6 or 2Q07. CQLLETTI explainetj that when the


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           merger between MILLER and COORS was imminent, people were concerned about
            job security. Around · the same time,       -
                                                            COLLETTI invested in a ·hotel
                                                                                       .
                                                                                             and bar
            in Waukesha, Wisconsin. COLLETTI advised that the hotel and bar were
            eventually a big drain on his economic -resources. COLLETTI estimated that
           the investments were costing him approximately $30,000 per month. At the
                                        2
       -----M~!J~l) ,.~ .,Pis perso!}~. -:~~F,-~.ns~s iwere greatl_p' in'?reasing, COLLETTI .~as doing
           things with m_o ney from fiis ctepat;tment' s bu<liget to "t?t!cl;l care of" his
           customers. COLLETTI explained that at times he would have extra' ·'money in
           his budget and wanted to "take care of" his customers. Both internal
           company policies and Federal anct ·state regulations prohibited breweries
           from doing certain things for custome~s. COLLETTI advised that he was
           trying to figure out ways to get around these rules and ·regulations so he
           could take care of his customers.



                      COLLETTI explained that part of the ~eason he had extra money in
           his budget was that he was starting to make inroads
                                                         ..
                                                                  with his retail
           customers. COLLETTI was teaching his employees, who were in turn teaching
         , the' customers, sound bus-inesaS advice in order to increase their sales. The
           business advice was helping the retailers and so COLLETTI and his employees
           did not have to waste promotional money ih order help the customers. As a
           result, there was a surplus in COLLETTI's budget. COLLETTI advised that
           instead of . giving up the extra money from his budget, · COLLETTI tried to
           find ways where he_could put the money to use at a later date. _At the same
           time, COLLETTI was in need of large amounts of money to support his
           investment in the hotel.



                       COLLETTI advised there were basically two types of fraudulent
           invoices that he was involved in submitting to MILLER and/or _MILLERCOORS.
           For both types, COLLETTI would have someone act as a third party vendor and
           put together an invoice for submission to MILLERCOORS. COLLETTI advised
           that the people acting as third party vendors were people COLLETTI had
         · developed a relationship with over the years. · COLLETTI advised that the
           first type.of fr?udulent invoice was for an event or meeting that was never
           going to happen. The second type of fraudulent invoice was for an event
           that·_ had happened· in ·the ·past at a particular venue or on a regular basis -
           and was not going to happen this year or this time. COLLETTI advised that
           these recurring events were most likely not to be questioned because they
           had previously occurred. COLLETTI was then asked to identify the third
           party vendors whom he used to submit fraudulent invoices to MILLER and/or
           MILLERCOORS:




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           DREW VALLOZI




                     DREW VALLOZI was COLLETTI's partner in the hotel investment in
           Waukesha, Wisconsin. COLLETTI advised that VALLOZI was an actual vendor
           who did a lot of legitimate marketing for MILLER over the years. VALLOZI
           had won awards for. his ideas and promotions for MILLER. COLLETTI believes
           he first met VALLOZI in 2005, when VALLOZI was doing work for MILLER.
           VALLOZI cam~ into MILLER and presented promotion ideas to MILLER. VALLOZI
           lived in Waukesha, as did COLLETTI at that time. VALLOZI was associated
           with the following third party vendors through whom VALLOZI and COLLETTI
           submitted fraudulent invoices to MILLER and MILLERCOORS: AVA -MARKETING &
           COMMUNICATIONS, LLC; AVA ADVERTISING, INC.; FOOD & BEVERAGE NETWORK,



                        COLLETTI advised that AVA ADVERTISING, INC. was an actual company
           that had previously been owned by VALLOZI's father. VALLOZI bought AVA
         ' ADVERTISING, INC. from his father. COLLETTI agreed to co-sign one of the
           loan documents for VALLOZI so that VALLOZI could purchase nis father's
           business. After signing the loan documents, COLLETTI learned _that the
           c;::ompany was a ~'black hole." CO~LETTI did not know that the company was not
           profitable when COLLETTI signed the loan documents with VALLOZI. COLLETTI
           signed the loan documents because he believed the business would bring in
           money for the hotel which was struggling financially.



                    COLLETTI
                        -
                              believed
                              .
                                       that he and VALLOZI first submitted a
          fraudulent invoice to MILLER . relating to an event that had happened in the
          past, but was not going to happen again. COLLETTI advised that he "felt
          safe" invoic_ing MILLER for the event because the event had been held in the
          past. COLLETTI advised that he and VALLOZI submitted the fraudulent
          invoice in order to obtain money towards the debts related to the hotel.
          COLLETTI acknowledged that COLLETTI and VALLOZI both knew that VALLOZI was
          submitting an invoice .for an event was not going to happen and that money
          was going to be-used for the_ hotel debts.



                    COLLETTI was asked to describe the process by which VALLOZI and
          COLLETTI would submit fraudulent invoices to MILLER and MILLERCOORS.
          COLLETTI advised that VALLOZI would submit an estimate to MILLER or
          MILLERCOORS foi an event that was . not going to happ~n. The estimate would


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           come to COLLETTI's department, which was On-Premise National Accounts.
           COLLETTI advised that VALLOZI would ei ther fax, e-mail, or :send via · U.S._
           MAIL th~ initial estimate to MILLER or MILLERCOORS. The estimate would
           either be sent to ·CoLLETTI's attention or would go directly to the
           accounting departmen.t ; or to a promotions manager·. .In the scenarios where
           the estimate went to the accounting department or to a promotions manager,
           COLLETTI would have to approve the estimate. COLLETTI advised.that someone,
           from the accounting department or the promotions manager would typically
           call COLLETTI after receiving the estimate and ask COLLETTI if this was
           what he wanted to do, meaning was he okay ·with whatever promotion had been
           listed on the invoice. COLLETTI advised that his approval was required on
           some estimates, but not others.



                     Once a third party vendor estimate was approved, the a~counting
           department at MILLER or MILLERCOORS would create a purchase order (P/0)
           number. This process was applicable for both fraudulent estimates from
           YALLOZI and the other third party vendors, as well as legitimate estimates
           from third party vendors. COLLETTI confirmed that MILLER's accounting
           department, to include accounts payable, was located in Milwaukee.
           COLLETTI advised that the accounting department would send back a P/0
           number to the third party vendor who submitted the estimate. COLLETTI
           advised that if the third party vendor did not receive a P/0 number from
           the accounting department, the third party- vendor would get an e-mail or
           fax from COLLETTI's secretary, MARY ANN ROZENBERG, who provided the P/0
           number.



                     On whatever date the event or promotion was to occur, VALLOZI or
           any of the other third party vendors would submit an invoice -back to MILLER
           or MILLERCOORS listing the P/0 number on the invoice. COLLETTI advised
           that these would be submitted to MILLER the same ,,iay that the estimates
           were submitted to MILLER or MILLERCOORS, to inciucte e-mail, fax, or U.S.
           MAIL. COLLETTI advised that. the process for submitting invoices ·to MILLER
           or MILLERCOORS was the same whether the invoices submitted by the third
           party vendor were fraudulent or legitimate.



                     Third party vendors were paid by ~ILL~R or MILLERCOORS within
           thirty to sixty days after the .date on which the invoice was submitted,
           COLLETTI advised the invoices were paid by check. The accounts payable
           department at MILLER in Milwaukee, Wisconsin, would send to the third party
           vendor a check at whatever name and address was provided by the third party


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            vendor. COLLETTI advised that some legitimate third party vendors were set
            up f?r direct _deposit payment of invoices from MILLER, however, COLLETTI
            does not know if any of the thir~ party vendors with whom he submitted
            fraudulent invoices were set up for direct deposit.



                      COLLETTI confirmed that the process for VALLOZI submitting
            fraudulent invoice$ to MILLER was the same as all of the third party
            vendors with whom COLLETTI submitted fraudulent invoices. COLLETTI aavised
            that the only difference might have been with invoices created and
            submitted by MARY ANN ROZENBERG.



                     COLLETTI was then asked what would happen with the money from the
           checks that were issued to VALLOZI as a third party vendor . . COLLETTI
           confirmed that the three third party vendors used by VALLOZt on f raudulent
           invoices were: AVA MARKETING & COMMUNICATIONS, LLC; AVA ADVETISING, INC.;
           and FOOD & BEVERAGE NETWORK. COLLETTI's unders:tanding from VALLOZI was ·
           that the money from these fraudulent invoices went to pay off the debt and
           expenditures related to the hotel and bar in which VALLOZI and COLLETTI had
           invested. COLLETTI advised that the hotel was called THE CLARKE HOTEL and
           the bar was named THE SOCIAL CLUB. COLLETTI advised that VALLOZI also
           purchased an arena football team called THE MILWAUKEE IRO~. COLLETTI was
           not certain, but believes that money from fraudulent invoices to MILLER or
           MILLERCOORS
                   .
                       was used to pay debts and expenditures of the
                                                                  .
                                                                     arena football
           team. COLLETTI advised that. it was also possible that the funds for the
         . arena football team came from COLLETTI.personally. COLLETTI confirmed that
           the hotel, bar, and arena football team were either owned jointly by
           VALLOZI and COLLETTI, or COLLETTI had guaranteed the loans for the purchase
           of eac~ of the entities.



                     COLLETTI was not sure where VALLOZI had bank accounts, either
         individually or for any of the three third party vendpr companies that were
         used . to submit fraudulent invoices to . MILLER or MILLERCOORS. COLLETTI
         believes that the bank accounts may have been at COMMUNITY BANK. -CO~LETTI
         rec~ived no substantial funds for his personal u~e from the fraudulent
         third party vendor invoices submitted to MILLER or MILLERCOORS from AVA
         MARKETING & COMMUNICATIONS, AVA AOVERTISING, INC., or the FOOD & BEVERAGE
         NETWORK. COLLETTI bel4eves there may have been an occasion when funds from
         a fraudulent invoice were used _to repay COLLETTI for a personal
         expenditure. However, COLLETTI believes that the majority of these funds
       - were used to pay the pebts and expenditures of the hotel . and bar .


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                     COLLETTI was asked if he recalled spe c ific types of events or
           promotions t.hat were li.s ted by VALLOZI on the fraudulent third party
           invoices from AVA MARKETING & COMMUNICATIONS, AVA ADVERTISING, INC., or
           FOOD & BEVERAGE NETWORK. COLLETTI advised that he could not recall '
           specific events and promotions that did riot actually take place but were
           listed on the fraudulent invoices to MILLER or MILLERCOORS. COLLETTI
           advised that he would be able to identify the fraudulent invoices if given
           the opportunity to review all of the invoices submitted by VALLOZI or his
           third party vendor companies. COLLET°TI advised there were also legitimate
           invoices from these entities th~t were for legitimate work. performed by
           VALLOZI for MILLER or MILLERCOORS.



                             COLLETTI has not had any contact with VALLOZI since the end of
           2010.          COLLETTI understood that VALLOZI is now living in Florida .



                     COLLETTI was ·shown a driver's license photo of DREW VALLOZI.
           COLLETTI confirmed that the individual in the picture was DREW VALLOZI.



           MARY ANN , ROZENBERG




                      MARY ANN ROZENBERG (maiden name is RODMAN) was COLLETTI's
           secretary at MILLER. from approximately 1995 to 2008. COLLETTI · advised that
           the merger between MILLER and COORS happened in 2008, and as a result of
           the merger, MILLERCOORS Headqua r ters was going to be moved to Chicago,
           Illinois. COLLETTI advised that ROZENBERG was unable to move to Chicago
           from Milwaukee, and therefore left her position with the company. COLLETTI
           understood from ROZENBERG that she was unable .to sell her condominium in
           Milwaukee, and ROZENBERG's husband was a truck driver who was based qut of
           Milwaukee. While COLLETTI- was trying to ·help ROZENBERG find another -job-;
           ROZENBERG started a company called GOLDEN LOGISTICS. COLLETTI believed
           that GOLDEN LOGISTICS was started as a legitimate entity. ROZENBERG's idea
           for GOLDEN _LOGISTICS was that the company would buy items from government
           surplus and resell the items at a profit. COLLETTI understood that GOLDEN
           LOGISTICS was going to transport the items as welL as buying and selling
           the it~ms.



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                       As a ~esult of the merger, COLLETTI had tri share a secretary. At
           the same time, ROZENBERG was not ~orking as she was looking for new
           employment. As a result, COLLETTI had ROZENBERG do some secretarial work
           for him. COLLETTI confirmed this was wor~ related to MILLERCOORS, even
           though . ROZENBERG was doing the work at a time that she was no longer
           employed by MILLERCOORS. ROZENBERG was preparing documents for COLLETTI to
           use in presentations as well as completing COLLETTI's travel and
           entertainment (T&E) expense reports. COLLE:TTI explained that ROZENBEG was
           inputting COLLETTI's T&E expenses. ROZENBERG would log into the
           MILLERCOORS system, which COLLETTI beli eved was called the Concur System,
           using COLLETTI's log-in and password. ROZENBERG logged into the Concur
           System from her home using COLLETTI's log-in information . Because of the
           work that ROZENBERG was performing on COLLETTI's behalf, COLLETTI wanted to
           pay ROZENBERG. COLLETTI clarified that what he really wanted to do wa·s
           help ROZENBERG find a job, but advised that .was not working out. CO;LLE'i'TI
           advised that ROZENBERG worked at THE CLARKE HOTEL on the second shift for a
           period of time.



                      Although COLLETTI wanted to pay ROZENBERG .for the work she was
           doing for COLLETTI, COLLETTI was limited in his personal finances.
           COLLETTI advised that his personal finances were limited due to the costs
           and expenses related to the investment in the hotel and bar. COLLETTI
           suggested to ROZENBERG that she submit an invoice to MILLERCOORS for an
           event or promotion th.a t was not going td occur so that MILLERCOORS would·
           pay ROZENBERG for the event or promotion. COLLETTI confirmed that the
           invoices from ROZENBERG did not relate to an actual event. Instead, the
           fake invoices were being .submitted in ord~r to get ROZENBERG money to "help
           her out'' and to compensate ROZENBERG for the work she was doing for
           COLLETTI.



                     COLLETTI advised that some or all of the fraudulent invoices
          submitted by ROZENBERG were done in a manner that was different from the
          other thir.d party vendors. · COLLETTI believes that the -expenses submitted
          by ROZENBERG were . put on a "P-Card." COLLETTI did no~ know what the na~e
          "P-Card" stands for, but advised that a ." P-Card" · was a MILLERCOORS credit
          card. Events costing up to $10,000 could be charged on the "P-Card".
          COLLETTI advised there was no overall limit to the expenditures that could
          be put on the "P-Cardn, however, there was a $10,000 per transaction
          limit. COLLETTI used the "P-Card" to pay GOLDEN LOGISTICS, which was
          ROZENBERG' s third -party vendor company , COLLETTI advis~d- that the ·credit


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           card expenditure would then be assigned to an "I.O.". COLLETTI did not know
           what "I. O." ·stood for,:. but understood that it was basically a _budget
           account number.



                     COLLETTI confirmed that ROZENBERG had some type of a merchant
           account in order to accept the payments from the "P-Card" credit card.
           COLLETTI did not know through which bank or credit card company ROZENBERG's
           merchant account was set up. COLLETTI advised that GOLDEN LOGISTICS was ·
           set up as an Illinois corporation. COLLETTI had suggested ROZENBERG that
           she should incorporate in Illinois when she was creating GOLDEN LOGISTICS .
           COLLETTI advised that the mailing address for GOLDEN LOGISTICS is a retail
           space associated with COLLETTI's brother's dentist's office ih Lombard,
           Illinois.



                     COLLETTI was certain that over the last couple of years, all of
           the funds related to the fraudulent invoices from . ROZENBERG were charged t _o
           the "P-Card". COLLETTI was not sure if prior to that, estimates and
           invoices were submitted to MILLER and whether ROZENBERG received any checks
           from MILLER or MILLERCOORS.



                       COLLETTI advised that no money that went to ROZENBERG's company
           came back to COLLETTI personally. COLLETTI confirmed that ROZENBERG
           submit.t ed fraudulent invoices under th'ird party vendor company names GOLDEN
           LOGISTICS and GOLDEN EVENTS AND PROMOTIONS. COLLETTI believes that -the
           events listed on the invoices from ROZENBERG's third party vendors were
           tradeshow type events and promotions. COLLETTI confirmed that both he and
           ROZENBERG knew there neve~ were going to be any actual promotions related
           to the invoices they were submitting to MILLER and MILLERCOORS .



                          COLLETTI was then shown a driver's license photo of MARY ANN
           ROZENBERG.       COLLEfTI ident~fied the individual in the photo as ~ARY ANN
           ROZENBERG.



          FRANK BUONAURO




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                      COLLETTI first met FRANK BUONAURO in approximately 2000.
           BUONAURO was the founder of the NATIONAL ·ASSOCIATION OF FLEA MARKETS and
           was an. owner of three large flea markets . COLLETTI advised that two of
         . BUONAURO's flea markets were located in Arizona, and one was located in.
           Florida. COLLETTI believes that BU0NAORO_ may have sold one of the Arizona
           flea markets to the State of Arizon·a. COLLETTI advised that BUONAURO was
           the pioneer · of ·f lea market lobbying on _behalf of flea markets from around
           the country. COLLETTI advised that BUONAURO and the NATIONAL ASSOCIATION
           OF FLEA MARKETS' biggest lobbying efforts were against WAL-MART and
           WAL-MART's competition with the flea markets. BUONAURO had a company
           called F&B MARKETING PROMOTIONS that was a third party vendor for MILLER
           and MILLERCOORS.



                     COLLETTI was introduced to BUONAURO when MILLER was trying to
           gain market shares in the Hispanic corrununities. CO~LETTI advised that flea
           markets were seen as a good inroad to this end. COLLETTI explained there
           w~re promotion~l opportunities at the fl~a markets, as well as beer sales
           through beer tents set up at flea markets. Prior to COLL~TTI convincing
          .BUONAURO to switch to MILLER products, ANHEUSER BUSCH products were sold at
           BUONAURO's f~ea markets. COLLETTI advised that a lot of BUONAURO's friends
           who were al.so flea market ·owners switched to MILLER products at BUONAURO' s
           suggestion.



                    COLLETTI advised that he and BUONAURO went on hunting trips
          together. The hunting trips were bird hunting trips in Florida. COLLETTI
          estimated that he and BUONAURO went on one bird ·hunting trip a year for
          ~pproximately the last four years. COLLETTI advised that MILLERCOORS did
          not pay for these trips, ~nstead, BUONAURO submitted inflated invoices to
          MILLERCOORS to cover the expenses of the trip. COLLETTI advised that
          although both MILLER and COORS as individual companies allowed expenditures
          relating to the hunting industry, after the merger, MILLERCOORS allowed no
          funding of hunting related activities. COLLETTI thinks this ~elated to
          insurance issues.



                    COLLETTI advised that the first time he and BUONAURO used
          MILLERCOORS money . to +inance a hunting trip it did not relate to
          fraudulently inflated invoices. Instead, COLLETTI believes the money was
          left over from a legitimate flea market promotion. COLLETTI recalled that
          BUONAURO asked COLLETTI what BUONAURO should do with the money that was
          left over from-the flea market promotion. BUONAURO askeid COLLETTI i.f he


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           should send the money .back to MILLER. COLLETTI told BUONAURO to hold on to
           the money. COLLETTI believes he may have said that they could use the
           money to pay for a hunting trip.



                      COLLETTI believes that all ·Of his subsequent hunting trips with
           BUONAURO were paid for with money from invoices to MILLERCOORS. ·COLLETTI
           explained· that the invoices were for legitimate promotions by F&B MARKETING
           PROMOTIONS that were padded with extra expenditures to pay for the hunting
           trips. COLLETTI estimates the trips cost approximately $7,000 to $10,000
           per trip. COLLETTI estimates that he and BUONAURO took one trip per year
           over the past three or four years. COLLETTI believes that he and BUONAURO
           may have_ discussed creating a third party entity to accept promotional
           money from MILLERCOORS. COLL.ETTI is not sure if BUONAURO started F&B
           MARKETING PROMOTIONS in order to accept fraudulently inflat·ed third party
           vendor invoices, or if the entity already existed.



                     COLLETTI advised that pri~r to the last three or four years, all
           of the invoices from BUONAURO were legitimate. The invoices related to
           legitimate work and promotional costs. COLLETTI advised that MILLER
           legitimately spent promotional money on trying to establish a presence in
           the flea markets. COLLETTI advised that MILLER also paid money to support
           training efforts of the NATIONAL ASSOCIATION OF FLEA MARKETS. This was
           accomplished by either giving money directly to the NATIONAL ASS.OCIATION OF
           FLEA MARKETS or to BUONAURO for the benefit of the NATIONAL ASSOCI~TION OF
           FLEA MARKETS. COLLETTI advised that MILLER supported the NATIONAL. FLEA
           MARKET ASSOCIATION'S lobbying efforts which resulted in the NATIONAL FLEA
           MARKET ASSOCIATION and its members switching to MILLER .products. COLLETTI
           recalled that at some point ANHEUSER BUSCH came back to BUONAURO and agreed
           to support the NATIONAL ASSOCIATION of FLEA MARKETS in its lobbying efforts
           in an attempt to get ANHEUSER BUSCH products back into the flea markets.
           COLLETTI recalled that as a result, some of the flea markets switched back
           to selling and promoting ANHEUSER BUSCH products . .'



                      COLLETTI did not directly receive any of the funds from the
           inflated invoices BUONAURO submitted to MILLERCOORS. Instead, the inflate~
           invoices from BUONAURO were used solely to pay for the cost of COLLETTI's
           and EIUONAURO' s hunting trips. COLLETTI purchased hi.:, own plane tickets to
           fly to Florida for the hunting trips. COLLETTI advised that the money from
           the inflated invoices was used to cover the lodging, meals, entertainment
           and-cost of· hunt~ng on the trips. - COLLETTI understands that ·BUONAURO has


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           two homes, one in Florida, and one.in Arizona.                       COLLETTI believes that
           Florida is BUONAURO's primary residence.



                     COLLETTI was shown a driver's license photo of FRANK BUONAURO.
           COLLETTI identified the individual in the photo as FRANK BUONAURO.



           ROD GROETZINGER




                     COLLETTI advised that he met ROD GROETZINGER in approximately
           1993. GROETZINGER was associated with 'the fol1owing three companies;
           BEVERAGE INTJUSTRY MARKET SERVICES {BIMS); EVENTS ·MARkETING LNETWORK; and
                                                                                0




           RAVE MEDIA; · · COLL'ETTI advised that all · three of these entities· are · ·
         · legitimate c:Ompanies.



                           COLLETTI fist met GROETZINGER when GROETZINGER owned a magazine
          called TOP SHELF MAGAZINE. COLLETTI advised that MILLER paid for
          advertisements in TOP SHELF MAGAZINE. GROETZINGER sold TOP SHELF MAGAZINE
          and then started F&B MAGAZINE. COLLETTI advised that GROETZINGER was both
          selling advertising space to MILLER in his magazines and was representin9
          MILLER at tradeshows. COLLETTI recalled that GROETZINGER also produced a
          trade publication for MILLER that was called "Beer Is Volume With Profit."
          GOLLETTI''''atl\iisea··' th'a t ' GROETZ.:tNGER "\J~s' ~ Tegitimate'' thi:r ct·· pc1:rty ,' mar•keter' 'Who .'i,
         <diP , _a ,";lot ,oJ . ,W9r ~>w.ith •,· C!OLLETTI;:~ri'd "MtL'LER for ,many -,yg~'J'.!§.~y;;_uu




                     COLLETTI advised that he did not have a whole lot to do with
           GROETZINGER when they first met in 1993. However, as TOP SHELF and F&B ·
           were both directed to on-premise retailers, it was a natural progression
           for COLLETTI to start working with GROETZINGER as COLLETTI moved into the
           on-premise channel. COLLETTI advised that for many y~ars, GROETZINGER did
           legitimate work for COLLETTI's department and for all-of MILL?R and
           MILLERCOORS.



                    -COLLETTI understood that GROETZINGER got into some financial
                                                                                                                             I
         'difficulties -in , approximately . 2006 or 20017:-,>,. At this time, COLLETTI started
        - "helping him out." COLLETTI explair:i.ed that this entailed · COLLETTI "seating


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           some money" with GROET_ZINGER. TbJ_s _!Tlea,nt that .. wh,gµ , 99:L,:Y~+'.I.'I J1ac:i .. extra
          ·money in his budget; - COLLETTI would pay GROETZINGER ·:rOr programs -that'
         ·'COLLETTI '~           need GROETZINGER t:o. conduct in the ~future. COLLET_T I
           confirrned --that in addition to "seating money" with GROETZINGER for programs
           that were going to occur in the future, ..there.,were also ...in$tP.nces ,..where •.·,
          .COLLETTI .. ,was -,,having .. GROETZINGER submit -,-fraudulent -- inv.oices · forevents thati
         <Were . never going to occup,:,h COLLETTI advised these were invoices he
           desc~ibed as an established expense or a continuation of an event that had
           previously occurred, but was not going to occur this time. COLLETTI
           explained these types of established expenses were not typically questione~
           by MILLER or MILLERCOORS.



                       COLLETTI reiterated that there were times when COLLETTI ".seated
            ~oney,, with GROETZINGER for programs or projects that COLLETTI would have
            GROETZINGER fulfill in the future. COLLETTI explained that GROETZINGER
            would develop promotional ideas and concepts at COLLETTI's request.
            GROETZINGER also provided training at COLLETTI's request. This would
            include the training-qf servers in the chain establishments and.training of
            COLLETTI's employees. COLLETTI advised that GROETZINGER specialized in
            draft beer training. COLLETTI advised that the draft beer training wa.s
            either provided to COLLETTI's employees or directly to representatives of
            MILLER's on-premise accounts. COLLETTI was confident that some of these
            promotions or trainings were conducted. at a later time than the date of the
            invoice. COLLETT-I-.. c9uJ.ct .- not.-speci-fically identify ,which ---trainings or -
         ·· programs were "held-"at ·a '1-ater -,t -ime, -- but invoiced ,to MILLER -or MILLERCOORS
         ••,with an ·inaccurate ·· date or descr:i-ptiont t
           0




                          COLLETTI advised that GROETZINGER used the same general process
                COLLETTI previously described for the submission.and payment of fraudulent
                invoices. GROETZINGER would a.sk COLLETTI for an advance or COLLETTI would
                tell GROETZINGER that COLLETTI had extra money in the budget and that
                GROETZINGER should not submit an invoice. COLLETTI reiterated that
               .GROETZINGER did a lot of work for MILLER up to a certain point in time.



                         COLLETTI •believes "the ··sUbfui§sibh Of ' the :fraudulent' irivciibes • 'from -
          ''GROETZINGER ·'startect ·at·' the ''end ''''o'f ''2005 ; or · early in ,,2006.;; COLLETTI advised
           that GROETZIN~ER and VALLOZT were the first third part_y vendors 'that
          · COLLETTI used for t.p.e submission of fraudulent invoices -. :-- · COLLETTI believes
            that invoices were submitted to MILLER and MILLERCOORS from GROETZINGER's
            .companies _,up , u ntiL--' Januar.y - 20-13 , - COLLETTI advised that GROETZINGER was .
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            doing some work for MILLERCOORS · in recent years, .to include putting
            tog~ther a web p_age for MILLERCOORS. COLLE'fTI advis~d that ,.for ·the last
          .three · years of -invoices · some were related t o legiflmaf e wOrk~ ·and some wer~
          . not ·;·.,,,o .....



                         · COLLETTI received all the funds from the fraudulent invoices
            submitted to MILLER and MILLERCOORS from GROETZINGER's companies. COLLETTI
            advised that GROETZINGER did not receive a portion of any of these funds.
            COLLETT;[ ' -believes.''tha't·'' GROET-ZTNGER 0 was <giving ,· COLLETTI ' al·l ·0 bf ,the ·:;funds ··•··>
         · -f.rom d;he .:fra udulent .. ,inyp4<::.es ,..oy,9:i:;. ,the,,past ,thre.e -Y~i:lXS.,,·Pe G.a use ,, of,•, . COLLETTI:•·
            and···GROETZINGER' 'if friendship over ,t he year ;:;_. antj,,.peqau;;;e A:iRQETZINGER .was.....
         " getting legit-i ma:te ':'htisiness · f r onf •COLLETT-I ·· and ··MILLERCOORS:'.!"<· . COLLETTI
            advised there was a gap of time between 2006 or 2007, when the fraudulent .
            invoices started, and 2013, when they ended, that there were not any
            invoices being submitted by GROETZINGER to MILLER or MILLERCOORS.



                       COLLETTI advised that over the last three years, GROETZINGER was
           submi.t ting invo;i.ces to MILLERCOORS listing· the event as a SIMS Draft
           Training Program. COLLETTI advised these Draft Training Programs had been
           held in the past in Las . Vegas. The Draft Training . Programs were no longer
          .be held, but were used as the basis for the f~a~dulent invoices . . Prior to
           the last three years of COLLETTI's employment with MILLERCOORS, GROETZINGER
           was doing a lot of promotion for MILLERCOORS and MILLER. COLLETTI advised
           tha~ some of the promotions were legitimate and some were not. COLLETTI
           advised these promotions were not specific to Las Vegas. COLLETTI advi-sed
           that these promotions and events were an assortment of things and were not
           specific to BIMS.



                       COLLETTI received funds from GROETZINGER related to the
           fraudulent invoices either by check or money order. COLLETTI believed that
           most . of the fraudulent invoices over the past three years were from BI MS.
           COLLETTI assumes that MILLER and MILLERCOORS sent checks to BIMS as payment
         · for- the -fraudulent invoices·. COLLETTI is not- sure if it was a BIMS account
           or another entity's bank account that was· used to pay the funds to
           COLLETTI. COLLETTI believes that the money he received from GROETZINGER
           went into a business account he controlled, which would have been DAC
           MANAGE~ENT, or possibly COLLETTI's personal account. COLLETTI advised that
           the money he received from GROETZINGER related to the fraudulent invoices
           was spent either' <;m personal life expenditures or on debts related to the
           hotel and bar.


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                     COLLETTI was sl).own a driver's license photo of GROETZINGER .
         . COLLETTI identified the individual in the photo as ROD GROETZINGER.



           JIM RITTENBERG and SCOTT DARST



                     COLLETTI met JIM RITTENBERG and S'COTT DARST in approximately
          1988, when RITTENBERG and DARST were running DITKA's Restaurant in Chicago,
          Illinois. At the time, COLLETTI was the On-Premise Regional Manager for
          Chain and was based in Chicago. RITTENBERG and DARST were customers of
          COLLETTI' s ·as DITKA' s was an on-premise account. COLLETTI advised that
          RITTENBERG and DARST were customers of COLLETTI'S over the years through
          their ownership of various restaurants which included: DITKA's, · THE BEACH
          in Las Vegas, and WHITEY HERZOG's in St. Louis. In addition to these
          retail ownerships, RIT'I'ENBERG and DARST also hada consulting business
          known as PRIME PROMOTIONS . . COLLETTI confirmed that RITTENBERG and DARST
          also used the name P.O. MARKETING, INC. as a third party vendor on
          marketing and promotion invoices submitted to MILLER and MILLERCOORS.



                      COLLETTI advised that RITTENBERG now lives ·in Chicago, and DARST
          lives in Las Vegas. At the time COLLETTI met RITTENBERG, RITTENBERG was
          describ_e d as "The Mayor" of Rush Street. . COLLETTI advised that everything
          that happened on Rush Street went through RITTENGERG. Through their
          working relationship when RITTENBERG and DARST were running DITKA's,
          COLLETTI, RITTENBERG and DARST became fr.iends, COLLETTI advised that
          RITTENBEG and DARST taught COLLETTI about the business and they stayed in
          touch over the years.



                      COLLETTI advised that in the early 2000's, MILLER was trying · to
          get ir:to tlie business -of supplying MILLER products to the Indian ·Gaming
          Casinos. COLLETTI advised that the Indian Gaming Business started in the
          mid-1990's with two casinos in Upstate New York or the Northeast called
          FOXWOOD and MOHEGAN SUN. COLLETTI was trying to get MILLER products into
          FOXWOOD and MOHEGAN SUN because he believed it would be a profitable
          endeavor. COLLETTI had heard that DARST had been successful in introducing
          products into a casino in Florida with the Seminole Tribe, so COLLETTI



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            reached out to DARST for help. With DARST and RITTENBERG's help, COLLETTI
            was able to get MILLER products into the HOLLYWOOD CAS~NO, which. was the
            casino in Florida run by the Seminole Tribe. They .were also successful in
            getting MILLER products into the MOHEGAN SUN CASINO in. New York, which was
            run by the Mohegan Tribe, and the FOXWOOD CASINO in New York, which may
            have been run by the Pequot Tribe. COLLETTI believes that DARST and
            RITTENBERG also helped COLLETTI introduce MILLER products to a casino in
            California. COLLETTI advised that DARST was the primary lead for the
            Ftorida casino and RITTENBERG was the lead for the casinos in New York;



                       During the time COLLETTI was working ·with RITTENBERG and DARST to
            gain the entry into the Indian Reservation casinos, COLLETTI .had added
            people to his department to be in charge of the Indian Reservation casino
            accounts. COLLETTI advised that after the initial contact · had been made,
            and a relationship had been established between MILLER and the Indian
            Reservation casinos, MILLER wanted to turn the responsibility of managing
            the· Indian Reservation accounts over to the MILLER people working in the
            field." As a result, there became a time . where there was no longer a need
            for RITTENBERG and DARST's help. COLLETTI advised that while RITTENBERG
            and DARST ~ere working to introduce MILLER products into the casinos,
            RITTENBERG and DARST were paid a consulting fee. COLLETTI advised that the
            payments were called something other than consulting fees. COLLETTI .
            advised that he was not allowed to hire consultants, so RITTENBERG and
            DARST were being paid as third party vendors doing promotions. COLLETTI
          · believed it was some type of MILLER company regulation or policy that
            prohibited the payment of consulting fees. COLLETTI believed that . MILLER
            did not want to pay for third party consultants.



                      COLLETTI approximated that from 2002 to 2006, RITTENBERG and
           DARST. were consulting for MILLER i~ order to get MILLER products into the
           Indian Reservation casinos. During that time, . DARST and_ RITTENBERG were
           being paid as third party vendors doing promotions. COLLETTI advised that
          _during _this time, DARST· and RITTENBERG were doing some promotions and
           training. COLLETTI advised that i~voices being submitted to MILLER for
           RITTENBERG' s· a:nd .-DARST' s. work · are for · leg"itim·ate work, b_ut the work was
           being described as something other than what it actually was.



                     COLLETTI advised that there was a decision made in 2004 or 2005
           that the management of the relationship with the Indian ReservatiDn casinos
           was going to be .managed internally ·by MILLER. COLLETTI believed the ·.


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           process of turning over these responsibilities to MILLER employees
           concluded in 2006 or 2007. When this process was wrapping u~ in 2006- or
           2007, COLLETTI, RITTENBERG and DARST began submitting fake invoices to
           MILLER for work that was not actually done.



                     COLLETTI. advised that the invoices submitted by RITTENBERG and
           DARST came from TIME PROMOTIONS, INC. and PD MARKETING, INC. COLLETTI
           explained that the invoices from RITTENBERG- and DARST listed the type of
           work that RITTENBERG and DARST had done in the past for MILLER, but was no
           longer oeing done. COLLETTI listed this type of activity on fraudulent
           invoices because he believed that those invoices were less likely to be
           questioned by MILLER.



                       COLLETTI advised that all of the third party invoices from . PRI_ME .
           PROMOTIONS~ INC. and PD MARKETING, INC., on behalf of RITTENBERG and DARST,
           were promotions related to the Indian Re_s ervation casinos. COLLETTI
           advi~ed that any of the invoices to MILLER or MILLERCOORS after 2006 or
           2007 · are not legitimate invoices. COLLETTI advised that the process for
           the submission of the fraudulent invoices from RITTENBERG and DARST was the
           same as the general process for all fraudulent third party vendor invoices
           for which COLLETTI was involved. COLLETTI advised this general process was
           used by both PRIME PROMOTIONS, INC. and PD MARKETING, INC., for the
           submission of fraudulent invoices and receipt ·of payment of those invoices
           by MILLER and MILLERCOORS.



                    COLLETTI advised there was a 50/50 split of the proceeds of the
          fraudulent invoices submitted by RITTENBERG and DARST. COLLETTI received
          50% of the proceeds and RITTENBERG and DARST spht the other 50%.
          COLLETTI, RITTENBE~G and DARST all knew that COLLETrI and DARST .were both
          in financial trouble. COLLETTI expl~ined that- the idea or plan for
          submitting fraudulent invoices to MILLER came about as both COLLETTI and
          DARST were in financial trouble , COLLETTI explained that unlike COLLETTI
         -and DARST, RITTENBERG did not need the money.



                       COLLETTI received his 50% of the proceeds from the fraudulent
           invoices to MILLER and MILLERCOORS in cash and checks from RITTENBERG.
           <;:OLLETTI advised the checks were per·sonal checks from RITTENBERG.
           RITTENBERG would physically hand the cash or checks to. COLLETTI. The


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           checks from RITTENBERG were deposited into the DAC Management Account at
           COMMUN~TY BANK ~r into ·a personal account of COLLETTI's. COLLETTI spent
           the funds from the fraudulent ihvoice·s submitted by RITTENBERG and DARST. on
           personal expenditures as well as the debt related to the hotel and bar.



                      COLLETTI estimated that he received approximately $250,000 in
           checks from RITTENBERG. COLLETTI advised that he received the rest of the
           money from RIITENBERG in cash. COLLETTI was asked if this meant that he
           received approximately $1.25 million in cash from RITTENBERG, as the total
           payments to PRIME PROMOTIONS, ·me. and PD MARKETING, INC. for fraudulent
           invoices was estimated to be $3.0 million and 50% of that would be $1.5
           million. COLLETTI acknowledged that he received a lot of cash from
           RITTENBERG. COLLETTI advised that he received · the money over a six y_e ar
           period, but he confirmed that number was correct. COLLETTI was asked if
           there was a reason why RITTENBERG had given him so much of the money in
           cash. · COLLETTI acknowledged that cash was harder to trace and at times
           COLLETTI needed cash right away to pay vendors related to the hotel.



                     COLLETTI was shown driver's license photos of RITTENBERG and
           DARST, which he identified as the individuals discussed herein.



           PAUL EDWARDS




                     COLLETTI advised that PAUL EDWARDS was a MILLERCOORS employee who
           worked for COLLETTI.· EDWARDS ·was the Team Lead for BWW, TOBY KEITH and ·BAR
           MANAGEMENT GROUP RESTAURANTS. COLLETTI. advised that EDWARDS was only
           involved in putting in fraudulent invoices to MILLERCOORS that related to
           golf outings with TOM LONGHI. COLLETTI estimated that EDWARDS submitted
           four or five invoices -over the ·last three or four years for events that did
           not happen on the dates listed on the invoices. COLLETTI explai~ed that
           the trip~ would OC(?Ur at a later time .. COLLETTI a_dyis~d that EDWARQS,
           LONGHI, COLLETTI and some retail customers qnd distributors, went on these
           golf trips.



                     COLLETTI. explained that this was a situation where there was
           money in the bank now and they .wanted to use it later. COLLETTI explained


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           that there was extra money in his budget that he did not want to lose so
           either COLLETTI, or
                             .
                                ori four
                                      -
                                         or five. occasions EDWARDS, would
                                                                      .    submit.
                                                                           .       an
           invoice for a go~f trip that did not happen at the time, or did not happen
           at the location -that was listed on the invoice~ COLLETTI advised that
           these funds would be used to fund a later golf event.



                     COLLETTI advised that LONGHI would take a portion of the money
           that had come in through the fraudulent invoice to cover his time, expenses
           and golf fees related to the subsequent golf trip.



                     COLLETTI advised that some of these invoices related .to golf
           trips to Costa Rica. LONGHI's cousin was a golf pro at a golf course
           called LA IGUANA in Costa Rica. COLLETTI advised that to pay for the trips
           to Costa Rica, they used funds that had been paid -by MILLERCOORS to LONGHI _
           through the submission of fraudulent invoices. COLLETTI advised that funds
           from fraudulent invoices were also used to pay for golf trips to Florida,
           where they go°lfed on expensive golf courses in the West Palm Beach area.



                     COLLETTI confirmed that EDWARDS went on some of the golf trips to
           Florida and Costa Rica. COLLETTI does not believe that EDWARDS received
           ~ny money directly from LONGHI related to the fraudulent invoices, however,
           COLLETTI is not certain.



                     COLLETTI confirmed that in addi.tion. to the invoices submitted to
           MILLERCOORS by LONGHI at EDWARDS' direction, COLLETTI directed LONGHI to
           submit additional fraudulent invoices to MILLERCOORS. COLLETTI thinks
           EDWARDS might have been aware of the invoices COLLETTI instructed LONGHI to
           submit, but COLLETTI is not certain.



                     COLLETTI advised that eventually LONGHI gave money to COLLETTI
           personally from the fraudulent LONGHI golf invoi.ces. COLLETTI does not
           know if EDWARDS knew that money was coming back directly to COLLETTI, but
           EDWARDS knew that COLLETTI was in financial trouble.
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                     The interview of COLLETTI was concluded at this point due to·time
           constraints. COLLETTI agreed to .meet with the interviewing Agents again in
           order to provide .additional information and details . related to his
           employment at MILLER and MILLERCOORS and the activities discussed herein.
